          Case 1:21-cr-00642-JDB Document 68 Filed 02/06/23 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA

           v.                                          Criminal Action No. 21-642 (JDB)

  DARRELL NEELY,
          Defendant.


                                            ORDER

        Upon consideration of defendant Darrell Neely’s [27] motion to suppress, [28] and [65]

motions to transfer venue, [29] motion to compel access, [30] motion to dismiss Counts Two &

Three, [31] motion to dismiss case, and [32] motion to retain rough notes, and the entire record

herein, and for the reasons stated in the accompanying Memorandum Opinion, it is hereby

        ORDERED that [27] the motion to suppress is DENIED; it is further

        ORDERED that [28] and [65] the motions to transfer venue are DENIED; it is further

        ORDERED that [29] the motion to compel access is DENIED; it is further

        ORDERED that [30] the motion to dismiss Counts Two & Three is DENIED; it is further

        ORDERED that [31] the motion to dismiss the case is DENIED; it is further

        ORDERED that [32] the motion to retain rough notes is DENIED as moot; and it is further

        ORDERED that the parties shall confer and inform the Court at the February 9, 2023 status

conference if any of the issues raised by the motions in limine are no longer relevant and which

motions still require judicial action.

        SO ORDERED.


                                                                                /s/
                                                                         JOHN D. BATES
                                                                     United States District Judge
Dated: February 6, 2023

                                                1
